         Case 20-11157                  Doc 1           Filed 05/20/20 Entered 05/20/20 11:14:11                                         Desc Main
                                                           Document    Page 1 of 7


       Fill In this Information to Identify the case:

       United States Bankruptcy Court for the:

                                 District of Massachusetts
                                            (State)

       Case number (II kno,vn): ----------- Chapter                       _7__
                                                                                                                                              D Check if this is an
                                                                                                                                                 amended filing
 Official Form 205
  Involuntary Petition Against a Non-Individual                                                                                                            12/15

 Use this form to begin a bankruptcy case against a non-Individual you allege to be a debtor subject to an involuntary case. If you want to begin
 a case against an individual, use the Involuntary Petition Against an Individual (Official Fonn 105). Bo as complete and accurate as possible. If
 more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if
 known).


               Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


 1.    Chapterofthe                      Check one:
       Bankruptcy Code
                                         � Chapter 7
                                         D      Chapter 11


•@fj           Identify the Debtor


, 2.   Debtor's name                      Legacy Global Sports, L.P.


 3.    Other names you know
       the debtor has used in
       the last 8 years
       Include any assumed
       names, trade names, or
       doing business as names .

. 4.   Debtor's federal
       Employer Identification           rsJ Unknown
       Number (EIN)


                                         Principal place of business                                         Mailing address, if different
 6.    Debtor's address

                                         77 Sleeper Street
                                         Number         Street                                           Number          Street


                                                                                                         P.O. Box

                                         Boston                                 MA       02210
                                         City                                  State    ZIP Code         City                                � ZIP Code



                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                         Suffolk
                                         County                                                          Number          Street




                                                                                                         City                                � ZIPCode


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 Debtor        Legacy Global Sports, L.P.                                                      Case number 1,ri...,,ow,,11                              _
               Name




 s. Debtor's website (URL)       www.legacyglobalsports.com


1.   Type of debtor             D     Corporation (including limited Liability Company (LLC) and Limited liability Partnership (LLP))
                                r:;/ Partnership (excluding LLP)
                                O     Other type of debtor. Specify:--------------------------


 s. Type of debtor's
    business                     Check one:

                                 O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                 O Single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                 O Railroad (as defined in 11 U.S.C. § 101 (44))
                                 O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                 O Commodity Broker (as defined In 11 U.S.C. § 101 (6))
                                 O Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                 rs(None of the types of business listed.
                                 O Unknown type of business.

9.   To the best of your         f;/ No
     knowledge, are any
     bankruptcy cases
                                O Yes. Debtor                                                                _ Relationship
     pending by or against
                                          District                               Date filed                           Case number, if known.            _
     any partner or affiliate                                                                 MM I DD I YYYY
     of this debtor?

                                          Debtor                                                            _         Relationship

                                          District                               oate filed ------ Case number, if known.                               _
                                                                                              MM/DD/YYYY




•&Fi          Report About the Case

10. Venue                       Check one:

                                [STOver the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place or
                                    business, or principal assets in this district longer than in any other district.

                                O A bankruptcy case concerning debtor's affiliates. general partner, or partnership is pending in this district.


11. Allegations                 Each petitioner is eligible lo file this petition under 11 U.S.C. § 303(b).
                                The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                At least one box must be checked:

                                ISf"The debtor is generally not paying its debts as they become due, unless they are the subject or a bona
                                    fide dispute as to liability or amount.

                                O Within 120 days before the filing or this petition, a custodian, other than a trustee, receiver, or an
                                    agent appointed or aumorlzed to take charge or less than substantially all of the property of the
                                    debtor for the purpose of enforcing a lien against such property, was appointed or took possession.


12. Has there been a            !V'No
     transfer of any claim
     against the debtor by or   O Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
     to any petitioner?             Rule 1003(a).
                                                                           - --------- - -----···-----··
Official Form 205                                    Involuntary Petition Against a Non-Individual                                             page 2
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                                                        Document    Page 3 of 7

               legacy Global Sports, L.P.


1J. Each potibonei"a claim                  N1n,e of peVtiOnwt                                                                                                                  Amount of tM claim
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                                             Bay �1ato ttr,ckey. LLC
                                             dlhl'I/Jtmror Bn.ao1 Hoc.,Ry                                Unpaid halal coO:.,ng toes flue                                        $   28,575.95
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                                            Super Series AAA. LLC                                        JI.lilt ���ljJ                                                         5 23,000
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    atatcment undor pcm•lty of perjury set out In Pait_. 01 the form, roUowod t,y each add11ional pctrllOnet's (o< revresentatiV•'s) signatur•,
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    Pro Hockey i;>evelopment (2015), Inc:                                                 Joseph S.U. Bodoff
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    N,,,.,
                                                                                             Rubin and Rudman LLP
    24 Bluff Trail                                                                       ,..;.-,,., n.,.me, d an�

     Noble ton                                Ontario            L78 OA1                  53 State Street
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    c., .                                                                                                                    -----------------

                                                                                             Boston                                                        MA
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    Name and malllng addl1>Ss of pc,Ulloner'a Npteffn!llUve, ii •ny

    Vickie Hofford                                                                                                  617-330-7038 F.mili'1bodoff@rubinrudman.com
    Homo

    24 Bluff Trail                                                                       U:a: number            549116
    N�r       S"1111

                                              Ontario            l7B OA1                                        MA
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Official Form 205                                          Involuntary Petition   /,g�""' o Norr lr>d,vldual                                                                         P'"leJ
      Case 20-11157                                      Doc 1      Filed 05/20/20 Entered 05/20/20 11:14:11                                             Desc Main
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                    Legacy Global Sports, L.P
Debtor
                   �---                                                                                         Case number 11 .....-.0..,..,,_-------------




                                                                                                                                1
    Name and mailing address of petitionor

     Bay State Hockey, LLC d/b/a/Junior Bruins Hockey                                             Joseph S.U. Bodotf
    Namt                                                                                         Printe<1 name

                                                                                                 Rubin and Rudman LLP
     121 Donald Lynch Blvd.                                                                      Firm na:ne. if any
    Numoo,         Sltl,CI                               --'----- ------

     Marlborough                                             MA            01752                  53 State Street
    City                                                    State         ZIPCodo                Number     Street
                                                                                                  Boston                                MA       02109
                                                                                                 City                                  S1ato--- ZIP Code
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                                                                                                 C<Jntact phone       617-330-7038   Ema,i     jbodoff@rvblnrudman.com
     Christopher Masters
                                                                                                 Batnumbor           549116
     121 Donald Lynch Blvd.
    1" umber       S!reet
                                                                                                 Sta?e               MA
     Marlborough                                             MA           01752
    Ci!y                                                    Steto         ZI" CM•

    I dedarn under pe�alty cf perjury that me foregoing is true and correct.

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    Name and malling address of petitioner

     Super Series AAA, LLC                                                                       Joseph S.U. Bodotf
                                                                                                 Printed �ame
    Name
                                                                                                 Rubin and Rudman LLP
    7250 Woodmont Ave. Suite 210                                                                 Ftrm name, it any
    N(lmbcr     Street

                                                            MD            20814                  53 State Street
     Bethesda                                                                                    Number     Slfeel
    Crty                                                    State        ZIP Code
                                                                                                 Boston                                 MA                   02109
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    Name and mailing address of politlonar's reprnsentauve, Jr any
                                                                                                 Cor.lact pncoa      617-330-7038 Ema,1 jbodoff@rubinrudman.com
    Jeremy Dallow
   c:-    . �-----------·-----·---
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     N m-
                                                                                                 Bar nu-nber      549116
    7250 Woodmont Ave, Suite 210
   Number      StJ�et
                                                                                                 State            MA
    Bethesda                                                MD            20814
   City                                                    Stale         ZIP Code


   I declare under poMlty of per1ury that the foregoing Is lrue and correct.


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Official Form 205                                                    Involuntary Pcllllon Against a Non-Individual                                           page 4
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                                                                 Document    Page 5 of 7



Debtor          Legacy Global Sports, L.P.                                                                Case number(,tlv'luwn)                            _
               Namo




   Name and mailing address of petitioner
    Bay State Hockey, LLC d/b/a/Junior Bruins Hockey                                        Joseph S.U. Bodoff
                                                                                            Printed name
   Name
                                                                                            Rubin and Rudman LLP
    121 Donald Lynch Blvd.                                                                  Firm name. if any
    Number     Street

    Marlborough                                   MA                  01752                 53 State Street
                                                                                            Number     Slreel
    City                                          State              ZIP Code
                                                                                            Boston                                   MA          02109
                                                                                           City                                     State        ZIP Code
    Name and mailing address of petitioner's representative, If any
                                                                                                                617-330-7038       Email jbodoff@rubinrudman.com
                                                                                            Contact phone
     Christopher Masters
    Name
                                                                                            Bar number        549116
     121 Donald Lynch Blvd.
    Number     Street
                                                                                            State               MA
     Marlborough                                   MA                  01752
    City                                          State               ZIP Code


    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on ------
                MM I DD /YYYY                                                               Signature of attorney



                                                                                            Date signed
    Signature of petitioner or representative, including representative's title                                 MM   I DD IYYYY




    Name and mailing address of petitioner

     Super Series AAA, LLC                                                                   Joseph S.U. Bodoff
                                                                                            Printed name
    Name
                                                                                             Rubin and Rudman LLP
     7250 Woodmont Ave, Suite 210                                                           Firm name. if any
    Number      Street

                                                   MD                  20814                 53 State Street
     Bethesda                                                                               Number     Street
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                                                                                             Boston                                  MA           02109
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    Name and mailing address of petitioner's representative, If any
                                                                                            Contactphone        617-330-7038       Email jbodoff@rubinrudman.com
     Jeremy Dallow
    Name
                                                                                            Bar number          549116
     7250 Woodmont Ave, Suite 21 O
    Number      Street
                                                                                            State               MA
     Bethesda                                      MD                  20814
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     I declare under penalty of perjury that the foregoing is true and correct.          ��-
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Official Form 205                                                Involuntary Petition Against a Non-Individual                                    page4
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             -Legacy Global Sports, LP.                                                                   C11e number,,._. ._                              _




 Namo and malllng addross of potitloner
  KMD Hockey, LLC dlb/a Rhode Island Sports Center                                           Joseph S.U. Bodoff
 Name                                                                                       Ponied name

  1186 Eddie Dowling Highway                                                                 Rubin and Rudman LLP
  Number     Slreet

  North Smithfield                              RI                      02896                53 State Street
  City                                                                  ZIP Code             Nll!Tlber   Stnm

                                                                                             Boston                                MA           02109
                                                                                             City                                 Slate        ZIP Code
  Namo and malllng address of peUtionor's ropresontativo, if any
                                                                                                                  617-330-7038   Em:ail jbodoff@rubinrudman.com
   Dan Fawcett                                                                               Contld phone
  Name
                                                                                             Bar number      549116
   1186 Eddie Dowling Highway
  Numb«      StmDI
                                                                                             Slate            MA
   North Smithfield                              RI                      02896
  City                                         Slate                    ZIP Code

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   Namo and malling address of petltloner

    Lynch Hockey, LLC                                                                         Joseph S.U. Bodoff
                                                                                             Printed name
   Name
                                                                                              Rubin and Rudman LLP
    25 Andrew Ferland Way                                                                    Firm name, , 11ny
    Number     Stteel

    Pawtucket                                     RI                      02860               53 State Street
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                                                                                              Boston                                MA          02109
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   Namo and malling address of petitioner's representative, if any
                                                                                              canta:tphone        617-330-7038   Emai jbodoff@rubinrudman.com
     Dan Fawcett
    Name
                                                                                              Bar number        549116
    25 Andrew Ferland Way
    Number     Slnnlt
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    Pawtucket                                      RI                     02860
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DEBTOR:        Legal Global Sports, L.P.                                 CASE NO.:

13. Continued – Each petitioner’s claim

                                                                          Amount of the Claim
 Name of Petitioner                       Nature of Petitioner’s Claim    Above the Value of Anv
                                                                          Lien
 KMO Hockey LLC                           Unpaid ice rink rental cost                  $8,783.26
 d/b/a Rhode Island Sports Center

 Lynch Hockey, LLC                        Unpaid ice rink rental cost                  $8,783.26

 Subtotal from page 3                                                                $184,575.95

                                          TOTAL OF PETITIONERS’                      $202,142.47
                                          CLAIMS




                                                                                 (continued from page 3)
